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17
                           UNITED STATES BANKRUPTCY COURT
18                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

19   Smarter Building Technologies Alliance, Inc.,             Case No. 21-18337-BR
     et al.,1
20                                                             Chapter 11 (Subchapter V)
                                    Debtors.
21                                                             (Joint Administration Requested with
                                                               Cases 21-18338-BR & 21-18339-BR)
22   Tax I.D. No.: XX-XXXXXXX
                                                               DECLARATION OF BENJAMIN
23                                                             BUCHANAN, THE DEBTORS’
                                                               CHIEF EXECUTIVE OFFICER, IN
24                                                             SUPPORT OF CERTAIN FIRST
                                                               DAY PLEADINGS
25

26
27
     1      The Debtors in these chapter 11 cases are: Smarter Building Technologies Alliance, Inc.; Integrated
28   Advanced Controls, LLC; and Direct Discount Lighting, LLC. The corporate headquarters and the mailing
     address for the debtors is 6700 E. Pacific Coast Hwy, Suite 235, Long Beach, CA 90803.

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2           I, Benjamin Buchanan, hereby declare and state as follows:
3           1.     I am the Chief Executive Officer of Smarter Building Technologies Alliance, Inc.
4    (“SBT”) and the authorized representative of Integrated Advanced Controls, LLC (“IAC”) and
5    Direct Discount Lighting, LLC (“DDL” and together with SBT and IAC, the “Debtors”) in the
6    above-captioned chapter 11 subchapter V cases (the “Bankruptcy Cases”). I have served
7    as Chief Executive Officer of SBT since its inception in 2018. I additionally serve as a
8    member of the board of directors of SBT and own 25% of the voting stock in SBT.
9           2.     On October 29, 2021 (the “Petition Date”), each of the Debtors filed a voluntary
10   petition (collectively, the “Petitions”) with the United States Bankruptcy Court for the Central
11   District of California (the “Court”) for relief under chapter 11 subchapter V of title 11 of the
12   United States Code (the “Bankruptcy Code”). The Debtors are also contemporaneously
13   herewith filing certain administrative motions (collectively, the “First Day Administrative
14   Motions”), as described below. I am submitting this declaration on behalf of the Debtors in
15   support of the First Day Administrative Motions.
16          3.     Except as otherwise indicated, all facts set forth in this declaration are based
17   upon my personal knowledge, my discussions with members of the Debtors’ management
18   team, advisors, and service providers, my review of relevant documents and information
19   concerning the Debtors’ operations, financing affairs, and restructuring initiatives, or my
20   opinions based upon my experience and knowledge. If called upon to testify, I could and
21   would testify competently to the facts set forth in this declaration.
22                                       FIRST DAY MOTIONS
23          4.     Contemporaneously herewith, the Debtors are filing certain First Day
24   Administrative Motions seeking orders granting forms of relief intended to facilitate the
25   efficient administration of these Bankruptcy Cases. I believe that the relief requested in the
26   First Day Administrative Motions is appropriately tailored and necessary to the success of
27   the Bankruptcy Cases.
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1           5.     The First Day Administrative Motions include a Joint Administration Motion and
2    a Schedules Extension Motion. Subsequently, the Debtors may also file certain operational
3    first day motions, including, but not limited to, a Utilities Motion, an Insurance Motion, a Cash
4    Management Motion, and a Wage Motion. In support of such operational motions, as well
5    as the Petitions themselves, the Debtors may file a supplemental declaration.
6           6.     I have consulted with the Debtors’ advisors regarding the First Day
7    Administrative Motions, and I have reviewed and understand the relief requested in each
8    motion. To the best of my knowledge and belief, the factual statements contained in each of
9    the First Day Motions are true and accurate, and each such factual statement is incorporated
10   in this declaration by reference.     Specifically, I believe that joint administration of the
11   Bankruptcy Cases is important to streamlining these Bankruptcy Cases, as opposed to
12   having pleadings filed on three separate dockets, which may also prejudice creditors and
13   other parties in interest seeking information about the Debtors and the progress of these
14   Bankruptcy Cases. Further, as discussed in the Schedules Extension Motion, in consultation
15   with the Debtors’ advisors, the Debtors are working diligently on a number of parallel work
16   streams in order to ensure a smooth operational transition into these Bankruptcy Cases and
17   effectuate a potential strategic transaction. Accordingly, affording the Debtors an additional
18   14-days to file their schedules of assets and liabilities and statement of financial affairs in
19   necessary under the circumstances.
20          7.     At bottom, I believe the relief requested in each of the First Day Motions is
21   necessary, in the best interests of the Debtors, their estates and creditors, and all parties in
22   interest, and will avoid disruption to the business and preserve value during these
23   Bankruptcy Cases.
24          8.     Accordingly, for the reasons set forth in this declaration and in the First Day
25   Motions, this Court should grant the requested relief.
26                            [Remainder of Page Intentionally Left Blank]
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